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                     EXHIBIT I
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 U.S. National Science Foundation
 Division of Grants and Agreements
 2415 Eisenhower Avenue
 Alexandria, Virginia 22314

May 12, 2025

Dr. Alan Garber
Office of the President
Harvard University
Massachusetts Hall
Cambridge, MA 02138

Ref: Notice of Termination

Dr. Garber:

The U.S. National Science Foundation (NSF) has undertaken a review of its award portfolio. The
agency has determined that termination of certain awards is necessary because they are not in
alignment with current NSF priorities and/or programmatic goals. NSF understands that Harvard
continues to engage in race discrimination including in its admissions process, and in other areas
of student life, as well as failing to promote a research environment free of antisemitism and bias.

Effective immediately, the attached awards are terminated.

NSF is issuing this termination to protect the interests of the government pursuant to NSF Grant
General Conditions (GC-1) term and condition entitled 'Termination and Enforcement,' on the basis
that they no longer effectuate the program goals or agency priorities. This is the final agency
decision and not subject to appeal.

Costs incurred as a result of this termination may be reimbursed, provided such costs would
otherwise be allowable under the terms of the award and the governing cost principles. In
accordance with your award terms and conditions, you have 30 days from the termination date to
furnish an itemized accounting of allowable costs incurred prior to the termination date.
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Sincerely,




Jamie H. French, Division Director
Office of Budget Finance and Award Management (BFA)
Division of Grants and Agreements (DGA)
